                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:18-CV-345-KDB-DCK

 TRUE HOMES, LLC,                                       )
                                                        )
                      Plaintiff,                        )
                                                        )
    v.                                                  )                  ORDER
                                                        )
 CMH MANUFACTURING, INC. et al,                         )
                                                        )
                     Defendants.                        )


         THIS MATTER IS BEFORE THE COURT on “Plaintiff True Homes’ Motion To File

Reply In Support Of Partial Motion For Summary Judgment Under Seal” (Document No. 124)

filed October 20, 2020. This motion has been referred to the undersigned Magistrate Judge

pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having carefully considered

the motion and the record, and noting that the motion is unopposed, the undersigned will grant the

motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule 6.1 provides in relevant part as follows:

         LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision- making. As used in this
                Rule, “materials” includes pleadings and documents of any nature
                and in any medium or format.

                (b)    Filing under Seal. No materials may be filed under seal
                except by Court order, pursuant to a statute, or in accordance with a
                previously entered Rule 26(e) protective order.



      Case 3:18-cv-00345-KDB-DCK Document 126 Filed 10/21/20 Page 1 of 2
                 (c)     Motion to Seal or Otherwise Restrict Public Access. A
                 party’s request to file materials under seal must be made by formal
                 motion, separate from the motion or other pleading sought to be
                 sealed, pursuant to LCvR 7.1. Such motion must be filed
                 electronically under the designation “Motion to Seal.” The motion
                 must set forth:

                        (1)     A non-confidential description of the
                        material sought to be sealed;
                        (2)     A statement indicating why sealing is
                        necessary and why there are no alternatives to filing
                        under seal;
                        (3)     Unless permanent sealing is sought, a
                        statement indicating how long the party seeks to have
                        the material maintained under seal and how the
                        matter is to be handled upon unsealing; and
                        (4)     Supporting statutes, case law, or other
                        authority.

Local Rule 6.1. It appears that the requirements of Local Rule 6.1(c)(1) through (4) have been

adequately satisfied.

          Having considered the factors provided in Local Rule 6.1(c), the Court will grant the

motion to seal. Noting that the time for public response has not run to this motion, the Court will

consider any objection to this Order from non-parties as an objection to the motion, requiring no

additional burden for any non-party under the Federal Rules of Civil Procedure. See Local Rule

6.1(e).

          IT IS, THEREFORE, ORDERED that “Plaintiff True Homes’ Motion To File Reply In

Support Of Partial Motion For Summary Judgment Under Seal” (Document No. 124) is

GRANTED. “Plaintiff True Homes’ Reply In Support Of Its Motion For Partial Summary

Judgment” (Document No. 123) shall remain under seal until otherwise ordered by the Court.

                                      Signed: October 21, 2020




                                                  2

      Case 3:18-cv-00345-KDB-DCK Document 126 Filed 10/21/20 Page 2 of 2
